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13
14                           UNITED STATES DISTRICT COURT
15                       CENTRAL DISTRICT OF CALIFORNIA
16
17
     EXPRESS MOBILE, INC.,
18
                Plaintiff,                     Case No. 8:19-cv-01175 GW(Ex)
19
          vs.                                  UNOPPOSED MOTION TO STAY ALL
20                                             DEADLINES AND NOTICE OF
                                               SETTLEMENT
21 PERFICIENT, INC.
22
            Defendant.
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                                         -1-
                         MOTION TO STAY AND NOTICE OF SETTLEMENT
                                 Case No. 8:19-cv-01175 GW(Ex)
     Case 8:19-cv-01175-GW-E Document 29 Filed 02/10/20 Page 2 of 3 Page ID #:327




 1         Plaintiff Express Mobile, Inc. (“Express Mobile”) hereby submits this
 2 Unopposed Motion to Stay All Deadlines and Notice of Settlement as to the
 3 Defendant Perficient, Inc. (“Perficient”) and respectfully shows the Court as follows:
 4         1.    Express Mobile and Perficient have reached a settlement in principle
 5 resolving all matters in controversy between the parties in the above-referenced
 6 action and are in the process of drafting and finalizing the settlement papers.
 7         2.    Accordingly, Express Mobile and Perficient submit that the parties’ and
 8 Court’s resources would best be served by a stay of all unreached deadlines for a
 9 period of forty-five (45) days so that the announced settlement in principle may be
10 completed and appropriate dismissal papers thereafter filed with the Court.
11         WHEREAS, Plaintiff requests the Court grants this Unopposed Motion to
12 Stay All Deadlines and Notice of Settlement and enter an Order granting a temporary
13 stay of all deadlines for a period of forty-five (45) days.
14
15
     Dated: February 10, 2020             By: /s/ Jeffrey Francis Craft
16                                        Jeffrey Francis Craft (SBN 147186)
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17                                        DEVLIN LAW FIRM LLC
                                          1731 Fox Springs Circle,
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19                                        Attorneys for Plaintiff Express Mobile, Inc.
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                               Case No. 8:19-cv-01175 GW(Ex)
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 1                           CERTIFICATE OF SERVICE
 2        I hereby certify that I electronically filed the foregoing with the Clerk of the
 3 Court using the CM/ECF system which will send notification of such filing to the
 4 Electronic Service List for this case.
 5 Executed on February 10, 2020
 6
 7                                           /s/ Jeffrey Francis Craft
                                             Jeffrey Francis Craft
 8
 9                                           Attorneys for Plaintiff Express Mobile, Inc.
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                      MOTION TO STAY AND NOTICE OF SETTLEMENT
                              Case No. 8:19-cv-01175 GW(Ex)
